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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

       Plaintiff,
vs.                                                          No. CR 16-2917 JP

YUSEF CASANOVA,

       Defendant.
                                              ORDER

       On February 13, 2019 Defendant filed Defendant’s Opposed Motion to Vacate and

Continue the Trial Setting [Doc. No. 147]. The Court held a hearing on February 21, 2109 at

which the defendant was present and represented by Assistant Federal Public Defenders Brian

Pori and Melissa Ann Morris. The government was represented by Assistant United States

Attorneys Samuel Hurtado and Norman Cairns. At the hearing the Court heard argument from

counsel. At the conclusion of the hearing the Court granted the Motion and set deadlines for

trial. Consequently, the trial setting of March 4, 2019 should be vacated and trial should be

rescheduled, if one is needed, on April 1, 2019 at 1:30 p.m. in Albuquerque, New Mexico. The

Court finds under 18 U.S.C. §3161(h)(7)(A) that the ends of justice served by granting the

motion to continue the trial from March 4, 2019 to April 1, 2019 outweigh the best interests of

the public and the Defendant in a speedy trial, because denial of the motion would result in a

miscarriage of justice by denying the parties adequate time to prepare for trial. Continuance of

the trial from March 4, 2019 to April 1, 2019 does not result from congestion of the Court’s

docket; instead, continuance is required for the reasons stated above.

       IT IS THEREFORE ORDERED THAT: The motion [Doc. No. 147] to continue the

trial date of March 4, 2019 is granted; and

       1. The new date for the call of the calendar is set on, Thursday, March 21, 2019, at

           11:00 a.m. at the U.S. Courthouse, 421 Gold Ave. S.W. ~ Sixth Floor Courtroom,
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          and the trial is rescheduled on April 1, 2019 at 1:30 p.m., at the U.S. Courthouse,

          333 Lomas Blvd. N.W., ~Third Floor, Pecos Courtroom; and

       2. A Pretrial Conference is set for April 1, 2019 at 11:00 a.m., at the U.S.

          Courthouse, 333 Lomas Blvd. N.W., ~Third Floor, Pecos Courtroom

       3. The time between March 4, 2019 to April 1, 2019 is excluded for purposes of the

Speedy Trial Act, 18 U.S.C. §3161 et seq.




                                            SENIOR UNITED STATES DISTRICT JUDGE
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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO
                      BEFORE THE HONORABLE JAMES A. PARKER

      By direction of The Honorable James A. Parker, this case will come on for jury selection
and trial on Monday, April 1, 2019 at 1:30 p.m. at the U.S. Courthouse, 333 Lomas Blvd. N.W.
3rd Floor– Pecos Courtroom.

       A call of the calendar is set for Thursday, March 21, 2019 at 11:00 a.m. The call of the
calendar will be held at the U.S. Courthouse, 421 Gold Ave. S.W. 6th Floor Courtroom. The
defendant does not need to be present.

      A Pretrial Conference is set for Monday, April 1, 2019 at 11:00 a.m. at the U.S.
Courthouse, 333 Lomas Blvd. N.W. 3rd Floor– Pecos Courtroom.

       Motions in Liminie must be filed by March 8, 2019.
       Responses to Motions in Liminie must be filed by March 18, 2019.
       Proposed Voir Dire questions to the jury and Jury Instructions and witness lists must be
       filed by March 22, 2019.

        The court must be advised of all plea agreements not later than Monday,
March 18, 2019. The court will not accept a plea after that date except to at least one count of
the indictment.

      Please check the Court’s website at http://www.nmcourt.fed.us for information
regarding trial preparation, the call of the calendar, and jury instructions.

      Inquiries and notice of change of plea should be directed to Juan Gonzales, Courtroom
Deputy at (505) 348-2247.

       I hereby certify that a copy of this calendar was served by mail or electronic means--to
counsel of record as they are shown on the Court's docket.



                              MITHCELL ELFERS, CLERK OF COURT
